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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

     MAROOF HAQUE,

                  Plaintiff,
                                             CIVIL ACTION
          v.                                                        F\LED
                                             NO. 15-1355            JUL 2 8 2017
     SWARTHMORE COLLEGE,
                                                                   KATE BARKMAN. Clerk
                                                                 By           Qep. Clerk
                  Defendants.

                                    MEMORANDUM

     JOYNER, J.                                          Ju1y    0(7 '       2017

          Before the Court is Plaintiff's Motion to Lift the Seal,

     Defendant's Response thereto, and Plaintiff's Reply in Further

     Support thereof. For the reasons stated below, Plaintiff's Motion

     is GRANTED in part and DENIED in part.

     I. Background

          This action stems from an incident that occurred in

     September 2011 on the Swarthmore College campus between Plaintiff

     and a female student ("Jane Doe"), both of whom were then

     freshmen at the college. As a result, Plaintiff alleges that he

     was falsely accused of sexual assault. In March 2015, Plaintiff

     filed this lawsuit asserting, inter alia, that Swarthmore

     violated his civil rights during the course of its investigation

     and adjudication of the sexual assault complaint against him.

     Ultimately, Swarthmore suspended him from the college, and

     subsequently expelled him.
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          On March 20, 2015, prior to the filing of the Amended

     Complaint, it was ordered that all case filings on record were to

     be placed temporarily under seal. On April 8, 2015, this Court

     denied Plaintiff's motion to lift the seal in this matter.

     Plaintiff subsequently filed an Amended Complaint, a Second

     Amended Complaint, and a Third Amended Complaint. On May 3, 2016,

     after Plaintiff's Third Amended Complaint was filed, this Court

     approved a Stipulated Confidentiality Agreement and Protective

     Order ("Protective Order") that provided protections to materials

     produced in discovery. These protections extend to materials

     pertaining to students who are not parties to this litigation

     ("Non-Party Students"), but who are protected by the Family

     Educational Rights and Privacy Act of 1974, 20 U.S.C.         §   1232g

     ("FERPA"). Additionally, an Order Regarding Production of FERPA-

     Protected Information ("FERPA Order") was entered as well.

     Plaintiff now moves again to lift the seal.

     II. Standard

          When evaluating the necessity of a seal, the Third Circuit

     has asserted that there is a strong presumption of public access

     to "judicial records and documents." Leucadia, Inc. v. Applied

     Extrusion Tech., Inc., 998 F.2d 157, 161 (3d Cir. 1993) (internal

     quotations and citations omitted); See, In re Cendant Corp., 260

     F.3d 183, 192 (3d Cir. 2001). The presumption of "public access


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is a recognized and venerated principle" but it "'is not

absolute,'" and, accordingly, can be rebutted by a showing of

good cause. Cendant, 260 F.3d at 194 (quoting Littlejohn v. Bic

Coro., 851 F.2d 673, 678 (3d Cir. 2001)); See also, Fed. R. Civ.

P. 5.2, 26(c). To do so, the "party seeking to seal any part of a

judicial record bears the heavy burden of showing that 'the

material is the kind of information that courts will protect' and

that 'disclosure will work a clearly defined and serious injury

to the party seeking closure.'" Miller v. Indiana Hosp., 16 F.3d

549, 551 (3d Cir. 1994) (quoting Publicker Indus., Inc. v. Cohen,

733 F.2d 1059, 1071 (3d Cir. 1984)). When alleging the injury

that would result from disclosure, the party must do so with

"specificity," avoiding "broad allegations of harm." Cendant, 260

F.3d at 194. Even after a sealing has been ordered, its

continuance must be reevaluated considering "current evidence"

and "must be lifted at the earliest possible moment when the

reasons for sealing no longer obtain." Id. at 196. However, when

protection is being sought for information pertaining to a non-

party, broader restrictions can be used to prevent harm to the

non-party. Frank v. Honeywell Int'l Inc., No. 15-mc-00172, 2015

WL 4770965, at *4   (E.D. Pa. August 13, 2015).

     It is first required that the party moving to unseal the

judicial record "come forward with a reason to modify the order."


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Pansy v. Borough of Stroudsburg, 23 F.3d 772, 790         (3d Cir. 1994).

Then, it must be determined whether there is good cause, for

which the Pansy Court provides the following eight factors to

consider:   (1) whether there is "an interest in privacy";        (2)

"whether the information is being sought for a legitimate purpose

or for an improper purpose";     (3) whether disclosure will result

in embarrassment;   (4) whether the information to be protected is

"important to public heal th and safety";      ( 5) whether disclosure

of the "information among litigants would promote fairness and

efficiency";   (6) "whether a party benefitting from the order of

confidentiality is a public entity or official";         (7) "whether the

case involves issues important to the public"; and (8) "the

parties' reliance on the [existing] order." Id. at 787-89.

Nevertheless, this is not an exhaustive list of factors to be

considered. Id. at 789.

II. Discussion

     Both parties agree that Plaintiff's original complaint (Doc.

No. 3), the Amended Complaint (Doc. No. 12), and the Second

Amended Complaint (Doc. No. 21) ought to remain under seal. We

agree. See, Bloom v. Shalom, No. 13-1442, 2014 WL 356624, at *4

(W.D. Pa. January 31, 2014) (finding it appropriate to seal

stricken complaint "to avoid public circulation" of pleadings

that were deemed immaterial). Additionally, both parties agree


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that the complainant "Jane Doe" should continue to be referred to

by that pseudonym in future filings. The point of contention here

lies in whether non-party students ought to be identified by

their names in future pleadings.

     In its Motion to Lift the Seal, Plaintiff asserts that

colleges' adjudication of sexual assault complaints is an

important issue to the public, which necessitates the public's

access to this court record. Defendant contends that any

information it provides regarding non-party students implicates

the Family Educational Rights and Privacy Act (FERPA) 20 U.S.C.             §

1232g (2013) and, therefore, demands protection.

     (A)   FERPA

     The Family Educational Rights and Privacy Act is a federal

law enacted with the purpose of ensuring parents' access to their

children's educational records, as well as preventing the

improper disclosure of those records. 20 U.S.C.        §   1232(g). FERPA

induces educational institutions to act in accordance with its

standards by conditioning these institutions' receipt of federal

funds on their compliance. Id. As it pertains to the unauthorized

release of educational records, FERPA defines those materials as

"those records, files, documents, and other materials which (i)

contain information directly related to a student; and (ii) are




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maintained by an educational agency or institution or by a person

acting for such agency or ins ti tut ion." Id. at     §   1232g (a) ( 4) (A) .

     We agree, as do the parties, that disciplinary records of

non-party student comparators fall under FERPA. However, we are

unpersuaded by Defendant's allegation that any information that

it produces relating to non-party students implicates FERPA. The

Protective Order acknowledges that testimony by a non-party

student that refers to a disciplinary record, or any other

"educational record" that is covered by FERPA, is to be protected

in the same manner that the record would be protected.            (Doc. No.

46, at 2). However, whether testimony by a non-party student,

which simply references specific students, is given protection

under FERPA is less clear. See, Jennings v. Univ. of North

Carolina, 340 F.Supp.2d 679,     684 (M.D.N.C. 2004) (denying

protection to depositions which contained specific references to

non-party students because they were not "educational records" as

defined by FERPA) . Regardless, materials covered by FERPA do not

gain immediate protection, but, instead, are merely presumed to

have a strong privacy interest attached. Lei Kev. Drexel Univ.,

No. 11-6708, 2014 WL 1100179, at *5 (E.D. Pa. Mar. 20,

2014) (holding that redacted student files, which fall under

FERPA's definition of "educational records," were to be made

available for discovery to enable Plaintiff to prove his claim) .


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Yet, as the Defendant notes, the current Protective Order

requires that references to non-party students be redacted.            (Doc.

No. 46, at 11). We find it unnecessary to determine whether the

information sought here is covered by FERPA because we hold that,

even in the absence of a FERPA implication, there continues to be

good cause for referring to non-party students by pseudonyms in

future filings.

     (B) Balancing Test

     Current evidence must be evaluated to determine whether

there continues to be good cause for keeping the identities of

these non-party students anonymous. Accordingly, we turn to the

factors set forth in Pansy. We first consider whether there are

privacy interests that are deserving of protection. A privacy

interest may establish good cause when disclosure could work an

"'unnecessary or serious pain'" onto a party. Haber v. Evans, 268

F.Supp.2d 507, 511 (E.D. P.a. 2003) (quoting Publicker Indus., 733

F.2d at 1071). This case centers around the adjudication of a

sexual assault complaint, a sensitive matter, which is

acknowledged by both the existence of the Protective Order, and

the language used in that Order.        (Doc. No. 46, at 1). In this

instance we recognize that the privacy interest belongs not to

the Defendant, but instead to the non-party students themselves.

It is relevant that seven students filed objections to the


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possible disclosure of their educational records, suggesting that

a harm may result from disclosure. However, we are not thoroughly

convinced that this would constitute an "unnecessary or serious

pain" and so we find that this factor only marginally supports

keeping the identities of non-party students redacted.

     Next, we must determine whether the identities of these non-

party students are being sought for a legitimate purpose.

Plaintiff's Reply correctly states that he is not required to

show that he would experience a "significant burden" should the

non-party students remain unidentified. Additionally, he argues

that disclosure is necessary for administrative and procedural

ease and because this case concerns issues of public interest.

Given that Defendant does not assert that Plaintiff is seeking

disclosure for an illegitimate purpose, we do not find that

Plaintiff's purpose is improper. See, Arnold v. Pennsylvania,

Dep't of Transp., 477 F.3d 105, 109-10 (3d Cir. 2007); Rossi v.

Schlarbaum, No. 07-3792, 2008 WL 222323, at *3 (E.D. Pa. January

25, 2008).

     Next, we consider whether keeping the identities of the non-

party students under seal would prevent embarrassment. When a

party seeks to protect information primarily to avoid

embarrassment, it must be shown that the embarrassment is

"particularly serious." Pansy, 23 F.3d at 787        (quoting Cipollone


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v. Ligget Grp., Inc., 785 F.2d 1108, 1121 (3d Cir. 1986)).

Additionally, a party who asserts that they will suffer injury as

a result of disclosure must provide more than generalized

allegations that their reputation, including both personal and

professional relationships, will be injured. See Arnold, 477 F.3d

at 110; Rossi, 2008 WL 222323, at *3. Here, the Defendant simply

alleges that there are FERPA implications, but does not allege

that non-party students will suffer embarrassment should they be

identified in future pleadings. Therefore, this factor militates

in favor of lifting the seal.

     Additionally, we must determine whether the disclosure of

the names of non-party students is important to public health and

safety, whether this case involves issues important to the

public, and whether the party benefitting from the order of

confidentiality is a public entity. To begin, it is important to

note that neither the non-party students nor the Defendant are

public entities or officials, thus, lessening the need for

disclosure. In Benedict v. McMahon, 315 F.R.D. 447, 452          (E.D. Pa.

2016), the Court held that Plaintiff's action against a paramedic

for injuries she sustained while receiving medical assistance did

concern the health and safety of the public. However, the

specific information sought to be disclosed, Defendant's expunged

criminal record, did not; therefore, the Court found that this


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factor weighed against disclosure. Id. Likewise, here, the case

may be important to public health and safety, but the identities

of the non-party students are not. Accordingly, this factor

supports the continuing redaction of non-party students' names.

     We now turn to whether this case is related to issues of

public importance. In Doe v. Temple Univ., No. 14-4729, 2014 WL

4375613, at *2   (E.D. Pa. September 3, 2014), Plaintiff brought

suit against his University alleging that the school had violated

his due process rights during its adjudication of the sexual

assault complaint against him. There, the Court, while

considering Plaintiff's motion to proceed under pseudonym, stated

that the manner in which colleges respond to sexual assault

complaints is an "important issue[] commanding national

attention." Id. Similarly, here, Plaintiff brought this action

alleging that Swarthmore College violated his rights throughout

the investigation and adjudication of the sexual assault

complaint against him. For that reason, we find that this case

concerns issues, like those in Doe v. Temple Univ., which

"command national attention." See, id. Accordingly, this factor

weighs in favor of disclosure.

     It must also be determined whether disclosure of the

identities of the non-party students would promote fairness and

efficiency. Efficiency is fostered when disclosure "expedites the


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trial timeline." United States v. Johnson, 191 F.Supp.3d 363, 372

(M.D. Pa. 2016). Fairness is furthered when parties have access

to the relevant and necessary documents to prove their claims.

See, Wallace v. Powell, No. 3:09-cv-0291, 2012 WL 1191607, at *4

(M.D. Pa. April 10, 2012) (finding disclosure of Plaintiffs'

expunged records would not promote fairness because they were

unnecessary to prove the defense which was being raised by

Defendant). Regarding efficiency, Plaintiff, in his Reply, argues

that it is procedurally burdensome for these non-party students

to remain anonymous. Plaintiff's argument is in line with the

idea that, typically, efficiency is furthered when information is

disclosed between parties. See, Benedict, 315 F.R.D. at 452.

However, it must also promote fairness. Here, although redacted,

both parties have access to the documents and "it would be unfair

to modify an order that was stipulated to and relied upon by the

parties." Wallace, 2012 WL 1191607, at *4. For that reason, we

find that this factor weighs in favor of protection.

     Finally, in determining whether modification to the

Protective Order is warranted, we must consider the original

parties' reliance on that order. However, a party's reliance on

an order is not dispositive because it is assumed that the

parties acted with knowledge that it might be altered or modified

at a later date. Pansy, 23 F.3d at 790. Defendant calls attention


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to the fact that, pursuant to the FERPA Order, seven students

filed objections with this Court regarding the disclosure of

their personal information. There is no indication that any other

action was taken in reliance on the Protective Order or the FERPA

Order. Because we cannot discern any detriment that would befall

Defendant as a result of its reliance, we find that this factor

neither favors nor supports disclosure. In summary then, inasmuch

as we find that just two of the eight Pansy factors favors

lifting the seal on this action, we decline to do so at this

time.

III. Conclusion

        After considering the submissions from both parties

regarding Plaintiff's Motion to Lift the Seal, we find that there

continues to be good cause for the use of pseudonyms for non-

party students, including complainant, "Jane Doe," in future

pleadings and we therefore decline to lift the seal in this

action at the present time. In so holding, however, we recognize

the possibility that the moving party may, in the future,            succeed

in making a compelling showing that the equities then favor

opening these proceedings. Given that that showing has not yet

been made, this motion is therefore granted in part and denied in

part in accordance with the attached order.




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